  Case 19-25920-CMG               Doc 26   Filed 11/25/19 Entered 11/25/19 13:27:45                Desc Main
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    UNITED STATES BANKRUPTCY COURT
    District of New Jersey



    Albert Russo
    Cn 4853
    Trenton, NJ 08650                                                        Order Filed on November 25, 2019
    (609) 587-6888                                                                        by Clerk
                                                                                  U.S. Bankruptcy Court
    Standing Chapter 13 Trustee                                                    District of New Jersey

    In re:
                                                           Case No.: 19-25920 / CMG

                                                           Hearing Date: 11/19/2019
       Joseph Paulauskas
       Holly Paulauskas
                                                           Judge: Christine M. Gravelle

                                                           Chapter: 13
                                     Debtor(s)



                                  ORDER CONFIRMING CHAPTER 13 PLAN

   The relief set forth on the following pages, numbered two (2) through three (3) is ORDERED.




DATED: November 25, 2019
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The plan of the debtor having been proposed to creditors, and a hearing having been held on the

confirmation of such plan, and it appearing that the applicable provisions of the Bankruptcy Code have

been complied with; and for good cause shown, it is

ORDERED that the plan of the above named debtor, dated 08/16/2019, or the last amended plan of

the debtor be and it is hereby confirmed.     The Standing Trustee shall make payments in accordance

with 11 U.S.C. § 1326 with funds received from the debtor.


ORDERED that the plan of the debtor is confirmed to pay the Standing Trustee for a period of       60

months.


ORDERED that the debtor shall pay the Standing Trustee, Albert Russo, based upon the following

schedule, which payments shall include commission and expenses of the Standing Trustee in accordance

with 28 U.S.C. § 586:

                         $1,050.00 PAID TO DATE

                         $498.00 for 57 months beginning 12/1/2019


ORDERED that the case is confirmed with a calculated plan funding of $29,436.00 which includes a

minimum of $11,109.00 dividend to general unsecured creditors.



ORDERED         that the Standing Trustee shall be authorized to submit, ex-parte, an Amended

Confirming Order, if required, subsequent to the passage of the claims bar date(s) provided under Fed.

R. Bank. P. 3002.



ORDERED that the debtor's attorney be and hereby is allowed a fee pursuant to the filed 2016(b)

Statement. Any unpaid balance of the allowed fee shall be paid to said attorney through the Chapter 13

plan by the Standing Trustee.
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ORDERED that if the debtor should fail to make plan payments or fail to comply with other plan

provisions for a period of more than 30 days, the Standing Trustee may file, with the Court and serve

upon the Debtor and Debtor's Counsel, a Certification of Non-Receipt of Payment and request that the

debtor's case be dismissed. The debtor shall have fourteen (14) days within which to file with the Court

and serve upon the Trustee a written objection to such Certification.



ORDERED that upon completion of the plan, affected secured creditors shall take all steps necessary

to remove of record any lien or portion of any lien discharged.



ORDERED that the Standing Trustee is not authorized to pay post-petition claims filed pursuant to 11

U.S.C. § 1305(a).



ORDERED that section(s) 4(e) is stricken from the Chapter 13 Plan.



ORDERED that if the debtor has provided for a creditor to be paid in the plan and no Proof of Claim

is filed by such creditor before expiration of the applicable bar date, the debtor, pursuant to F .R.B.P.

3004, must file a Proof of Claim on behalf of the creditor within 30 days of the expiration of the

applicable bar date. If the time period pursuant to F.R.B.P. 3004 has expired, the debtor must file a

Proof of Claim on behalf of the creditor and file a motion to allow the Trustee to pay the late filed claim,

or the debtor may obtain a Consent Order with the creditor authorizing the Trustee to pay an amount

certain in the plan.



ORDERED as follows:

Order Resolving Objection of HSBC Bank USA c/o Cenlar FSB, PACER Claim #13-1, to be filed by

12/23/2019.

Order Confirming Chapter 13 Plan                                                                  Page 3 of 3
